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 Civil Action No.        1:11-cv-1798-SEG

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless reqttited by Fed. R. Cn'. P. 4 (l)J

           This summons for (name ofindividual and title, ifany)                        (~((:'CJ L .T h ui'Yla s
 was received by me on (date)             ors-/1(e; b Q2)
           ~personally setved the summons on the individual at (place)                  G«%;) L .\1--olh~ ~ l~ CvC¥\b '(b .A. &·c...,.,
f3G, \?r:-)Or sk +SLAJ 3r-Cloo ,r A+ ~ 3D3o<) on (date)         I                                                        ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                    , a person of suitable age and discretion who resides there,
          ------------------------------
           on (date)                               , and mailed a copy to the individual's last known address; or
                       ----------
           0 I served the summons on (name ofindividual)                                                                          , who is
                                                                       --------------------------------
            designated by law to accept se1vice of process on behalf of (name oforganization)
                                                                                   on (date)                             ; or
          ---------------------------------------                                              ---------------
           0 I retumed the summons unexecuted because                                                                                  ; or

           0 Other (specify):




           My fees are$                            for travel and $                      for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                               Server's signature


                                                                      Gr5~e4 ~~in/  )
                                                                                            Printed name and title




                                                                                          /!~~I !Pc/
                                                                                               Server's address


 Additional information regarding attempted service, etc:
